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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )              8:05CR259
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
AARON LEE KUNTZ and                               )
ROBERT L. PRIME, III,                             )
                                                  )
                     Defendants.                  )


       This matter is before the court on the motion for an extension of time by defendant
Robert L. Prime, III (Prime) (Filing No. 17) and the motion to continue an evidentiary hearing
by defendant Aaron Lee Kuntz (Kuntz) (Filing No. 20). Prime seeks an extension of time for
approximately thirty days in which to file pretrial motions pursuant to paragraph 3 of the
progression order (Filing No. 10). Kuntz asks for a continuance of a hearing tentatively
scheduled for 9:00 a.m. on July 27, 2005. Defense counsel represent to the court that counsel
for the government has no objection to the motions. Prime has submitted an affidavit in
accordance with paragraph 9 of the progression order whereby Prime consents to the motion
and acknowledges he understands the additional time may be excludable time for the
purposes of the Speedy Trial Act (Filing No. 21). Upon consideration, the motions will be
granted.


       IT IS ORDERED:
       1.     Defendant Prime's motion for an extension of time (Filing No. 17) is granted.
Defendant Prime is given until on or before August 18, 2005, in which to file pretrial motions
pursuant to the progression order (Filing No. 10). The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendant in a speedy
trial. The additional time arising as a result of the granting of the motion, i.e., the time
between July 20, 2005 and August 18, 2005, shall be deemed excludable time in any
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computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel requires additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       2.     Kuntz's motion for a continuance of the hearing (Filing No. 20) is granted. The
tentative setting of an evidentiary hearing for 9:00 am. on July 27, 2005, is canceled and is
rescheduled for 1:30 p.m. on August 26, 2005, in Courtroom No. 7, Second Floor, Roman
L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at which time all
pending motions in this matter will be heard.
       DATED this 20th day of July, 2005.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge




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